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                        UNITED STATES DISTRICT COURT 

                        FOR THE DISTRICT OF COLUMBIA 

                                         ) 

GEORGE WEBB SWEIGERT                     )     Civil Action 1:17-cv-02330-(RC) 

      Plaintiff(s)                       )     Filed 2/4/2017 

         vs.                             )     Judge Rudolph Contreras 

JOHN PODESTA, et al.                     ) 

      Defendant(s)                       ) 

 

           RESPONSE IN OPPOSITION TO DEFENDANT KIM FRITT’S 


                               MOTION TO DISMISS  


1)    With regard to the Defendant DNC and Debbie Wasserman Schultz’s Motion to 

Dismiss filed on January 5, 2018, I would like to outline the fundamental question 

before the court in the conspiracy to commit fraud before addressing the individual 

motions to dismiss. Quite simply, the fundamental question before the court is “did a 

conspiracy to commit fraud exist between Hillary For America, the Democratic National 

Committee, Fusion GPS, the Podesta Group, to commit fraud against the America 

people”. In the words of the Chairman that took over for these principal conspirators of 

the Democratic National Committee, Donna Brazille, the process was “rigged”, with a 

secret Joint Funding Agreement signed in late September of 2015, which allowed the 

sweeping of donations intended for Bernie Sanders and key recruiter and donor data in 

an system known as NGP/VAN to be swept up to Hillary For America from DNC 
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Servers as frequently as once per hour. Chairman of Hillary for America, John Podesta, 

Vice Chairwoman of Hillary for America, Huma Abedin, and Chairwoman of the DNC, 

Debbie Wasserman Schultz were fully aware these sweeps of donations intend for 

Bernie Sanders and critical recruiting and donation data were being swept up on an 

hourly basis from DNC headquarters on Capitol Street in Washington, DC. Donors and 

volunteers for Bernie Sanders and progressive Congressional candidates who 

supported Bernie Sanders policies had no idea their donations were instead going 

directly to Hillary For America and Hillary For America hand picked Congressional 

candidates. 


Individual defenses up to this point have not addressed the fundamental question of 

conspiracy to commit fraud at all, but instead have tried to divide the Court ability to 

see the simple conspiracy for what it is by dividing to the Court’s attention to corner 

cases of distantly related case law. Four key Defendants have simply chosen to avoid 

service to avoid the question all together - Imran Awan, Abid Awan, Rao Abbas, and 

Hina Alvi.. The four key tests for fraud have been fully satisfied in the initial complaint 

along with the requirements for a RICO conspiracy which binds all defendants as a 

whole in this case. Once this RICO conspiracy is determined, Defendant DNC and 

Debbie Wasserman Schultz are cojoined wit Chairman John Podesta, and his 

organization, Hillary For America, which bears shared responsibility for John Podesta’s 

action once his organization, Hillary For America, took over daily operations of the 

DNC in October of 2015. I will hereafter refer to this Defendant in fact as Defendant 

DNC and Debbie Wasserman Schultz/Podesta because they are bound by the RICO 
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Conspiracy. But the key tests of the conspiracy to commit Fraud are still clearly met. 

One - false statements were made - in essence donors were convinced they were 

donating to Bernie Sanders and Congressional candidates which supported Sander 

progressive agenda, two - the key conspirators knew these representations to be false, 

three - the conspirators knew the public and donors would rely on these false 

representations in making $228,000,000 in donations to Bernie Sanders, and four - there 

was a clear injury-in-fact from this fraud. Recent disclosures indicate that the FBI may 

have assisted the DNC to hire Fusion GPS to hire foreign operatives to prepare a several 

“salacious and unreliable” dossiers in the words of then FBI Directors James Comey, for 

submission of four FISA applications on this Court. The Plaintiff now believes that these 

conspirators have already committed four act of Fraud on the Court through 

confederate, bad actors at the FBI and DOJ. We are more convinced than ever that 

discovery will lead to clear and convincing evidence of this conspiracy to commit fraud. 

Haines v. Kerner (1972)​ states a pro se has more opportunity for discovery given the 

inequality of status between the Plaintiff and the large Corporate and Government 

entities in the Defense.   


Courts are guided by the principle that pro se plaintiffs are usually subjected to less exacting 
standards than plaintiffs who are represented by attorneys. Haines v. Kerner, 404 U.S. 519, 520, 
92 S. Ct. 594 (1972). “[D]istrict courts have . . . strong incentives for ensuring adequate 
representation for pro se plaintiffs.” Ficken v. Alvarez, 331 U.S. App. D.C. 37, 146 7 F.3d 978, 
981 (D.C. Cir. 1998). However, this enduring legal principal does not relieve an unrepresented 
plaintiff of the burden of establishing her prima facie case. See, e.g., Moore v. Agency for Int’l 
Dev., 301 U.S. App. D.C. 327, 994 F.2d 874, 876 (D.C. Cir. 1993).  
 
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In addition, upon information and believe from several news articles, Defendant 

Chairman of Hillary For America John Podesta and in turn CEO of Podesta Group Kim 

Fritts, would have known that key passwords to Classified State Dept systems such as 

PRISM and Palantir were forwarded by Huma Abedin to an insecure Yahoo email 

account after several well publicized attacks occured, making this crucial system access 

available to Russian hackers. This enabled an illegal uranium trade which Uranium 

One, Inc. never registered for, and Kim Fritts is the CEO of Uranium One. Upon 

information and belief, ARMZ was have also benefited from illegal uranium trade, and 

Kim Fritts is also the CEO of that firm on behalf of Podesta Group. 


Huma Abedin Forwarded Top Secret Passwords To Yahoo Account Hacked 
By Russian With Odd Clinton Connection 

https://www.zerohedge.com/news/2018-01-02/huma-abedin-forwarded-top-secret-p

asswords-yahoo-account-hacked-russian-odd-clinton 


When these potential leaks of national security passwords to State Department are 

leaked to foreign actors, as host of pay to play scenarios were enabled with reciprocal 

donations being made to Hillary For America and pay to play contracts with the 

Podesta Group. 


Huma Abedin’s Forwarded Passwords and Trump’s Call for Jail 
President’s blast of Clinton aide follows disclosure that in 2009, she forwarded 
State Department login instructions to a personal email account 
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https://www.wsj.com/articles/trump-calls-for-jail-for-clinton-aide-over-emailed-pass

words-1515015745 


2) With particular regard to Defendant DNC and Debbie Wasserman Schultz’s Motion 

to Dismiss, objections are raised failure to state a cause of action and jurisdiction. 

Recent FBI reports have cited Classified information moving from Washington, DC and 

the State Department to Defendant Abedin’s Blackberry device and then to her 

husband’s unsecure laptop. FBI reports delineate over 2,100 classified documents being 

moved from Washington, DC to Hillary For America to Mrs. Abedin’s Blackberry 

device in New York. Upon information and belief, Russian hackers Igor Suschin and  

Dmitry Dokuchaev were able to access key State Department resources concerning 

Uranium mineral deposit reports, uranium inventories and transportation schedules in 

and outside of Russia, and key way points in highly enriched uranium from Russia 

going to the United States. Vulnerable waypoints were compromised as a result, 

creating a loss of uranium to the black market in Eastern Europe. These thefts have 

dramatic impact on the nuclear security of the world and the United States because this 

material can be used to fashion a nuclear weapon. Hillary For America may very well 

have acted as a money laundering conduit in this subterfuge of the law. 


Classified documents among newly released Huma emails found on 
Weiner’s laptop 
 
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https://nypost.com/2017/12/29/classified-documents-among-newly-released-huma-a

bedin-emails-found-on-weiners-laptop/ 


The Plaintiff alleges this connection was accomplished through the hacking of the Awan 

Spy Ring in Congress and the connection of the DNC servers in Washington, DC to the 

Hillary For America services in Brooklyn, New York. A clear cause of action is stated 

by this illegal sweeping of DNC money, data and national secrets to Brooklyn, New 

York. Jurisdiction is determined by where they original crime took place - South 

Capitol Street in Washington, DC. Shawn McCluskie, a key aide to Representative 

Xavier Becerra, has stated he tried to solve the 5,400 unauthorized logins to the 

Congressional Caucus servers himself rather that call the FBI with these illegal logins by 

the Defendant Imran Awan began concurrently with the Joint Funding Agreement 

being signed in October of 2015. 


Becerra Tried To Block Server Admin Over Red Flags, But Logins Continued, 

With Muted Reaction 

http://dailycaller.com/2017/12/11/becerra-tried-to-block-server-admin-over-red-flags-but-logins-c
ontinued-with-muted-reaction/?utm_campaign=atdailycaller&utm_source=Twitter&utm_medium
=Social

Objections around Class for the John Doe and Jane Doe Plaintiffs are nullified by the 

Defendant’s efforts to secure representation for this Class of injured Plaintiffs. The 

Plaintiff has conducted a continuous daily campaign to discovery Plaintiffs in all 435 

Congressional Districts of the United States - achieving both numerosity and diversity 

of Class. Currently, 47,000 subscribes to follow the developing case on the Plaintiffs 
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news channel on YouTube where daily updates to the case are given. Negotiations with 

counsel base here in Washington DC to represent the injured class are well under way 

and should be achieved soon for the discovery phase of this civil action. 


3)     The Plaintiff’s Complaint is a derivative of Wilding et al vs Debbie Wasserman 

Schultz, DNC, ​0:2016cv61511​ from a year prior in which an Appeals Court has ruled 

the case can proceed due to sufficient Standing. The key difference with this Complaint 

is the Plaintiff presents the actual monetary damages and the Plaintiff presents much 

more evidence of fraud and detrimental reliance on the DNC and Debbie Wasserman 

Schultz with new evidence that has come to light in the last year.   


4)     With regard to Standing, a total greater than $228,000,000 was given by Bernie 

Sanders donors indirectly or directly to the DNC for October 2015 to June 2016. We 

have now learned from recent disclosures by DNC Chairwoman, Donna Brazille that a 

secret agreement was made between Hillary For America and the DNC in October of 

2015 to secretly sweep funds from the DNC before the first primary was even 

conducted in New Hampshire. Democratic Party members and Bernie Sanders donors 

relied on false assurances of a fair primary election cycle by the Defendant Debbie 

Wasserman Schultz and other DNC leaders. Donors and volunteers detrimentally relied 

on these statements that DNC leaders including but not limited to Debbie Wasserman 

Schultz knew to be false, and this constitutes Fraud. 


5)     Upon information and belief, Defendant Perez has known the key Defendant 

Imran Awan for a least eight years since he has been a member of the Democratic 
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Caucus. Defendant Debbie Wasserman Schultz would have know about Defendant 

Imran Awan’s and Defendant Abid Awan’s 7,000 illegal logins from October 2015 to 

August of 2016 into the Democratic Caucus Server, sweeping money and NGP VAN 

data to Hillary For America. He would have know Abid Awan was banned from the 

House network access in September 2016 in the Congressional Federal Credit Union 

investigation. She would have know about the twenty Congressional burglaries on or 

about the Inauguration in January of 2017. Defendant Debbie Wasserman Schultz 

would have know Defendant Imran Awan, Hina Alvi, and Jamal Awan were barred 

from the Congressional network in February 2017 after a false server image was 

provided by Congressman Becerra to the Capitol Police. He would have know about 

illegal network access to Congressional servers on April 6th, 2017 by Imran Awan. 

Defendant Perez may have been aware of the illegal ​123@mail.house.gov​ shared 

dropbox used by the Defendants which resulted in Terabytes of information flowing to 

Pakistan. Defendant Debbie Wasserman Schultz, through numerous Capitol and 

Fairfax County Police reports, would have know Defendant Imran Awan and the 

member of this ring ran a classic RICO conspiracy to defraud the US Government and 

later the donors to the Democratic Party and the Bernie Sanders Campaign.   


5)    With regard to Defendant Debbie Wasserman Schultz’s claim there is no 

injury-in-fact, the Defendant would have been made aware that 7,000 illegal logins were 

made from October 2015 to August 2016 on the Democratic Caucus Server, holding the 

email and accounts of 45 Members of the House of Representatives, sweeping donor’s 

money and NGP/VAN donor and volunteer information to Hillary For America to 
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Chairman John Podesta. 

Consider, 


Becerra Tried To Block Server Admin Over Red Flags, But Logins Continued, With Muted 

Reaction 


http://dailycaller.com/2017/12/11/becerra-tried-to-block-server-admin-over-red-flags

-but-logins-continued-with-muted-reaction/ 

At no time did Defendant Debbie Wasserman Schultz make the public aware of this 

potential theft of campaign volunteer or contribution information over an eleven month 

period of time which was her key responsibility of officers of the DNC and Hillary For 

America.   

According to FEC record, the Bernie Sanders Campaign raised $228,000,000.   
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Defendant Debbie Wasserman Schultz knew members of the Democratic Party 

donating to Bernie Sanders were actually having their donations and volunteer 

information swept to Hillary For America in Brooklyn, New York. These 

misrepresentations of a fair election process, detrimental reliance on statements party 

leaders knew to be false, and resulting injury-in-fact constitute Fraud. By not making 

the public aware of this Fraud, Defendant Abedin committed Fraud and breached her 

fiduciary duty to the American people, and to members of the Democratic Party, and 

specifically to donors to the Bernie Sanders campaign. 


6)     The Plaintiff clearly has standing in that he donated to the Bernie Sanders 

Campaign three times, and he has added a proviso for other donors the were 

injured-in-fact in the Class Action provisions of the Complaint. Representation is being 

secured for these Classes of injured Defendants and will be available before Trial 

proceedings. In​ Sloan vs SEC (1978)​, a Pro See Attorney with only 13 shares of stock 

successfully contested a Supreme Court case. The Defense has quoted a flurry of 

distantly related case rather than address this binary fact of Standing or No Standing.   


With regard to showing Cause and showing Injury-In-Fact, consider the new evidence: 


       a)     A secret agreement between Hillary For America and the DNC which 

swept all DNC funds surreptitiously to Hillary For America was not known to 

contributors to the Bernie Sanders campaign or other Democratic Party contributors. 


       b)     A secret server was maintained by the Imran Awan and surrogates that 

was illegally logged into over 7,000 times between October 2015 and May 2016, 
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potentially harvesting critical campaign donor and volunteer information from the 

NGP/VAN voter engagement system. 


       c)     In February of 2016, an investigation was triggered for Defendant Imran 

Awan falsifying procurement documentation from CDW-G and illegally having 

iPhones and iPad intended for members of the House sent to his home in Lorton, 

Virginia. When this fact is coupled with Defendant Imran Awan’s long trips out of the 

country to Pakistan, this introduce the danger than the phones could be compromised 

with spyware overseas.  


       d)     An investigation into the Congressional Federal Credit Union led to the 

October 2016 firing of Abid Awan.   


       e)     Following twenty burglaries of Congress that has been attributed widely 

in the media to the Awans on or about the night of the Inauguration, Imran Awan, 

Jamal Awan, and Hina Alvi his wife were barred from the Congressional network. 


       f)     In March or April, a backpack belonging to Imran Awan was found in the 

Rayburn Office Building with hard drives and the laptops of Congresswoman Debbie 

Wasserman Schultz, in clear violation of the Congressional ban from the network.  


       g)     On March 6th, Hina Alvi, was stopped at Dulles Airport after having 

$12,000 case on her person, apparently fleeing the country after abrupting pulling her 

two children out of school.   
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        h)    In October of 2017, a secret email account called 123@mail.house.gov to 

the Congressional network was discovered to still be active. Court records indicate 

Imran Awan used this email on multiple occasions. This would constitute a clear 

violation of the Congressional network. The email account, in fact, still may be in use. 


        i)    Now there is strong evidence suggesting Defendant Imran Awan may 

have been involved in laundering $200 million dollars a month to known terrorist 

elements of Hezbollah for a drug ring in northern Virginia through a Cars International 

Inc. car dealership he owned in Falls Church, Virginia since 2008. Defendant Debbie 

Wasserman Schultz would have known about large money transfers from the 

Congressional Federal Credit Union, as well as the creation of fake employee account to 

launder large sums of cash for this operation. 


7)      The Plaintiff cites a numerous US government investigative reports which 

support the RICO conspiracy claim of Defendant Imran Awan and surrogates as well 

requesting local police reports that are germane to this case. Defendant Debbie 

Wasserman Schultz would have know about these police reports over at least a year 

period, and neither Perez/Podesta warned the American people or the member of the 

Democratic Party these individuals were intimately involved with the IT systems of the 

DNC. 


8)      Defendant Debbie Wasserman Schultz has known Defendant Imran Awan has 

been a closely trusted information technology consultant for Defendant Debbie 

Wasserman Schultz since at least 2006. In May of 2016, Wikileaks reveals that ever the 
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closest advisors of Mrs. Schultz did not have her iPad password in the middle of the 

hotly contested campaign, only Defendant Awan did. 


9)     The evidence for a RICO conspiracy between Defendants Imran Awan, Abid 

Awan, Hina Alvi, Nataliia Sova, Rao Abbas, and Haseeb Rana could not be clearer. The 

claim that a violation of the Computer Fraud and Abuse Act occurred here are equally 

relevant. Defendant Debbie Wasserman Schultz would have been aware of these laws 

and criminal activities, yet she did nothing to alert the public to these crimes over a year 

period.   


 

10)    The Defense is trying to parse this RICO Conspiracy to shield the conspiracy 

here. Imran Awan is already under criminal indictment for bank fraud and conspiracy 

charges with his wife, Hina Alvi. The Defense is proffering a minor participant in the 

conspiracy in hopes of obfuscating the case.   


11)    Defendant Imran Awan has not responded to the Plaintiff’s numerous attempts 

to serve Defendant Imran Awan The Plaintiff has attempted Certified Mail, used a well 

know process server here in Washington, DC, Same Day Process, and employed an ex 

law enforcement officer and investigator that spoke with the occupants all four known 

addresses of the Defendant to attempt Service of the Defendant Imran Awan. The 

Defendant in question is currently under the High Intensity Supervision Program of 

this Court under indictment for Bank Fraud and Conspiracy charges and restricted to 

an area within 150 miles of this Court. Upon information and belief, an ex law 
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enforcement officer and investigator, Jennifer Moore, spoke with Imran’s brother Omar 

at the 6314 Thomas Drive location in Springfield, Virginia on December 10th, 2017, and 

he stated that Imran frequented this location. Service has been attempted at this 

address numerous times. Here is a brief timeline of events of the RICO conspiracy. 




                                                                                           




                                                                                           
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    13)   Upon information and belief, the Defendant Imran Awan has been the subject of 

numerous police reports - both for the US Capitol Police and the Fairfax County Police. 

A simple production of documents with should already be public will quickly establish 

the RICO Conspiracy on the Computer Fraud and Abuse. 


I therefore motion for this Court to deny ​Defendant Debbie Wasserman Schultz​’s 

Motion for Dismiss, given the clear Standing, Injury in Fact, Fraud, and Detrimental 

Reliance on the DNC and its actors. Additionally, I hereby motion the compel these 

compel these agencies with a Writ of Mandamus to produce all police reports from the 

Capitol Police and records related to the Defendant Imran Awan in an unredacted form. 

This Court can then begin the Discovery process of Requests For Admission, 

Interrogatories, and Depositions on a firm foundation of fact in the interest of judicial 

economy for this Court. 


Respectfully submitted,  

 

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